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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA

                v.

 SULTAN MOHAMMAD ALI-CAUTHEN,                             Criminal Action No. TDC-17-0006

        Defendant.



                                  MEMORANDUM ORDER

       Pending before the Court is Defendant Sultan Mohammad Ali-Cauthen’s self-represented

Motion for Compassionate Release. ECF No. 552. After pleading guilty to conspiracy to

distribute and possess with intent to distribute 28 g or more of cocaine base, in violation of 21

U.S.C. § 846 and 841(b)(1)(B), Ali-Cauthen was sentenced on December 16, 2019 to 96 months

of imprisonment to be followed by five years of supervised release. Ali-Cauthen is presently

designated to Federal Correctional Institution Elkton (“FCI-Elkton”) in Lisbon, Ohio and

scheduled to be released on November 5, 2023. In his Motion, Ali-Cauthen seeks a reduction of

his sentence under a statutory provision commonly referred to as the “compassionate release”

provision because of the COVID-19 pandemic and his personal medical conditions.

                                         DISCUSSION

       Ordinarily, “[t]he court may not modify a term of imprisonment once it has been imposed.”

18 U.S.C. § 3582(c) (2018). This general rule is subject to certain exceptions, including the

compassionate release provision, which allows the Bureau of Prisons (“BOP”) to seek a

modification of a prisoner’s sentence. See id. § 3582(c)(1)(A). Under the First Step Act of 2018,

the compassionate release provision was modified to also allow prisoners to seek a sentencing

reduction directly from the Court. The provision now provides, in relevant part, that:
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       The court may not modify a term of imprisonment once it has been imposed except
       that:

       (1)         in any case that—

             (A)      the court, upon motion of the Director of the Bureau of Prisons, or upon
                      motion of the defendant after the defendant has fully exhausted all
                      administrative rights to appeal a failure of the Bureau of Prisons to
                      bring a motion on the defendant’s behalf or the lapse of 30 days from
                      the receipt of such request by the warden of the defendant’s facility,
                      whichever is earlier, may reduce the term of imprisonment (and may
                      impose a term of probation or supervised release with or without
                      conditions that does not exceed the unserved portion of the original
                      term of imprisonment), after considering the factors set forth in section
                      3553(a) to the extent that they are applicable, if it finds that—

                      (i)    extraordinary and compelling reasons warrant such a reduction;

                                              *   *    *

                      and that such a reduction is consistent with applicable policy
                      statements issued by the Sentencing Commission[.]

Id. Ali-Cauthen has submitted proof that he has satisfied the requirement to exhaust administrative

remedies because he submitted a request for compassionate release to the Warden of his prison on

or about April 27, 2020, and more than 30 days have elapsed since that submission. Mot. Ex. A,

ECF No. 571-1; see also 18 U.S.C. § 3582(c)(1)(A). Ali-Cauthen now argues that the COVID-19

pandemic presents “extraordinary and compelling reasons” that justify a sentence reduction to time

served with home confinement as a condition of supervised release. 18 U.S.C. § 3582(c)(1)(A)(i),

       Upon careful review of the Motion, the Court will not grant the requested relief. Although

the COVID-19 pandemic can present extraordinary and compelling reasons to warrant a sentence

reduction under certain circumstances, such as where a defendant has a medical or other condition

that creates a high risk of death or serious illness from COVID-19 and the defendant is incarcerated

at a prison with a particularly high incidence of COVID-19, such conditions are not present here.

As noted by Ali-Cauthen, FCI-Elkton has been one of the BOP facilities hardest hit by COVID-

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19. As of August 3, 2020, it has had 1,001 cases of COVID-19 among inmates, nine of whom

died      of       COVID-19.          COVID-19:         Coronavirus,     Bureau        of      Prisons,

https://www.bop.gov/coronavirus/index.jsp (last visited Aug. 3, 2020). There have also been over

50 cases among FCI-Elkton staff. At the present time, however, of those cases, only 57 inmate

positive cases and two staff positive cases remain active. Id.

         Ali-Cauthen, however, does not have a medical condition that places him at high risk for

death or serious illness from COVID-19. He is 42 years old and asserts that he has a variety of

health conditions, most prominently intercostal neuralgia and an “undiagnosed neurological

disorder” that causes muscle contractions, Mot. at 2, ECF No. 537, and he has provided medical

records establishing that he does have such a neurological condition. Though serious, that

condition and his other identified conditions are not the type of disorders that place Ali-Cauthen

at     high-risk    for   COVID-19.     See    People     with   Certain     Medical        Conditions,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-

ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html (last visited Aug. 3, 2020). While

Ali-Cauthen argues that receiving effective medical treatment at FCI-Elkton is extremely difficult

due to the impact of COVID-19 on that facility, if true, the appropriate remedy would be a transfer

to a BOP medical facility equipped to address his condition. Under these circumstances, the Court

does not find that there are “extraordinary and compelling reasons” to justify a sentence reduction.

18 U.S.C. § 3582(c)(1)(A)(i).

         Even if the circumstances of COVID-19 presented extraordinary and compelling reasons,

the Court would still be required to consider the factors in 18 U.S.C. § 3553(a) in assessing whether

a sentence reduction is warranted. 18 U.S.C. § 3582(c)(1)(A)(i). Upon consideration of those



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factors, the Court would not grant such a reduction. The nature and circumstances of this offense

consisted of an extensive drug trafficking conspiracy, involving large quantities of cocaine and

crack cocaine, in which Ali-Cauthen played a major role.       Presentence Investigation Report

(“PSR”) ¶¶ 11-21. Based on his prior convictions, Ali-Cauthen was in criminal history category

III. PSR ¶ 45. Where Ali-Cauthen was taken into custody on January 11, 2017, Ali-Cauthen has

served approximately 42 months on a sentence of 96 months, a period of time that is less than the

mandatory minimum five-year sentence on the offense of conviction. 21 U.S.C. § 841(b)(1)(B);

PSR ¶ 70. Upon consideration of the nature and circumstances of the offense and the history and

characteristics of the defendant, the Court finds that a sentence of time served, even with home

confinement as a condition of supervised release, would be insufficient to meet the purposes of

sentencing to reflect the seriousness of the offense, promote respect for the law, provide just

punishment, provide adequate deterrence, and protect the public from further crimes. 18 U.S.C. §

3553(a). Under these circumstances, the Court will deny the Motion.

                                        CONCLUSION

       For the foregoing reasons, it is hereby ORDERED that Ali-Cauthen’s Motion for

Compassionate Release, ECF No. 552, is DENIED.




Date: August 4, 2020                                /s/ Theodore D. Chuang
                                                    THEODORE D. CHUANG
                                                    United States District Judge




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